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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Pipp Mobile Storage Systems, Inc.
                                           Plaintiff,
v.                                                          Case No.: 1:21−cv−02104
                                                            Honorable Sara L. Ellis
Innovative Growers Equipment, Inc.
                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 29, 2022:


         MINUTE entry before the Honorable Sara L. Ellis: The Court strikes the ruling
date set for 8/30/2022 and resets it to 10/13/2022 at 1:30 PM. Members of the public and
media will be able to call in to listen to this hearing. The call−in number is (866)
434−5269 and the access code is 8087837. Counsel of record will receive an email with
instructions to join the call. Throughout the telephonic hearing, each speaker will be
expected to identify themselves for the record before speaking. Persons granted remote
access to proceedings are reminded of the general prohibition against photographing,
recording, and rebroadcasting court proceedings. Violation of these prohibitions may
result in sanctions, including removal of court−issued media credentials, restricted entry
to future hearings, denial of entry to future hearings, or any other sanctions deemed
necessary by the Court. Mailed notice(rj, )




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